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   17   [Additional counsel on signature page]
   18
                             UNITED STATES DISTRICT COURT
   19
                           CENTRAL DISTRICT OF CALIFORNIA
   20
        IN RE: CALIFORNIA PIZZA                  Master File No. 8:21-cv-01928-DOC-KES
   21   KITCHEN DATA BREACH
   22   LITIGATION                               STIPULATION AND [PROPOSED]
                                                 ORDER STAYING DEADLINES
   23   This Document Relates To:                PENDING FINAL APPROVAL OF
   24   All Actions                              CLASS ACTION SETTLEMENT

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    1           IT IS HEREBY STIPULATED by and between Plaintiffs in this consolidated
    2   class action and Defendant California Pizza Kitchen, Inc. (“Defendant” or “CPK”
    3   and, together with Plaintiffs, the “Parties”), through their designated counsel, as
    4   follows:
    5           WHEREAS, on February 15, 2022, the Court entered an Order Granting
    6   Stipulation to Consolidate Related Actions (ECF No. 16) (the “Order”), which also
    7   provided a deadline for applications to be appointed Interim Class Counsel or other
    8   designated counsel within thirty (30) days after the date of the Order, or March 17,
    9   2022;
   10           WHEREAS, the Order also provided that Plaintiffs shall file a Consolidated
   11   Complaint no later than twenty-eight (28) days following the entry of an order
   12   appointing Interim Class Counsel;
   13           WHEREAS, the Order also provided that Defendant shall have twenty-eight
   14   (28) days from the filing of the Consolidated Complaint to answer, move or
   15   otherwise respond to the Consolidated Complaint and set a briefing schedule on any
   16   motion to dismiss filed by Defendant;
   17           WHEREAS, the Parties participated in a full day of mediation with Bruce
   18   Friedman, Esq. of JAMS on March 10, 2022, and another half day of mediation on
   19   March 15, 2022, and the Parties reached a class action settlement in principle;
   20           WHEREAS, on March 16, 2022, pursuant to Civil Local Rule 16-15.7, the
   21   Parties notified the Court, with an email to Judge Carter’s Courtroom Deputy, that
   22   they have reached a settlement in principle;
   23           WHEREAS, the Parties are focusing their efforts on expeditiously preparing
   24   a Settlement Agreement, a Motion for Preliminary Approval, and supporting
   25   materials for that filing;
   26           NOW, THEREFORE, considering the settlement reached by the Parties, they,
   27   through their counsel of record, STIPULATE TO AND RESPECTFULLY
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    1   REQUEST that the Court stay the action, except for Plaintiffs’ motions for
    2   preliminary and final approval of the settlement and any deadlines connected thereto,
    3   and set a deadline for the filing of Plaintiffs’ Motion for Preliminary approval forty-
    4   five (45) days after entry of an Order approving this Stipulation.
    5
        DATED: March 16, 2022                   WOLF HALDENSTEIN ADLER
    6                                            FREEMAN & HERZ LLP
    7                                           /s/ Rachele R. Byrd
    8                                                  RACHELE R. BYRD

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   21   DATED: March 16, 2022             LEWIS BRISBOIS BISGAARD
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    4                                            Counsel for Defendant California Pizza
                                                 Kitchen, Inc.
    5
    6
                        ATTESTATION OF CONCURRENCE IN FILING
    7
                In accord with the Central District of California Local Rule 5-4.3.4(a)(2)(i), I,
    8   Rachele R. Byrd, attest that concurrence in the filing of this document has been
    9   obtained from each of the other signatories who are listed on the signature page(s).
   10
        DATED: March 16, 2022                           /s/ Rachele R. Byrd
   11                                                          RACHELE R. BYRD
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